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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA,

          Plaintiff,
          *




                   V.



 SALLY ANN JOHNSON,
                                                               Court No. 1:17-CR-10265-001-DJC
          Defendant,

                   and

 TD BANK, N.A.,

          Gamishee.

                         APPLICATION FOR WRIT OF GARNISHMENT

        Pursuant to 28 U.S.C. § 3205(b)(l)^ the Federal Debt Collection Procedures Act,the

United States petitions the Clerkof the United States District Courtto issue a Writof

Garnishment upon all fundswhichthe Gamishee, TD Bank,N.A. (the "Gamishee"), located in

Cherry Hill,NJ, is believed to be in possession or control of on behalfof the Defendant, Sally

Ann Johnson, (the "Defendant") whoselast knownaddress is in Alderson, WV, to satisfya

judgmententered against the Defendant on January 17,2018. In support, the United States sets

forth the following:




'     Under 28 U.S.C. § 3205(b)(1), the United States filesan application for writof garnishment containing
information specified therein. If the Courtdetermines the statutory requirements are met,theCourtshallissue the
writof garnishment. 28 U.S.C. § 3205(c)(1). Afterissuance of the writ,the United Statesserves the writon the
defendant andthe gamishee andcertifies to the Courtthat it hasdoneso. 28 U.S.C. § 3205(c)(3). Included withthe
service of the writon the gamishee are instructions explaining the requirement that the gamishee withhold property
in accordance with the writ and submit a written answer to the writ within 10 days ofreceipt. 28 U.S.C. §§
3205(c)(2)(E), 3205(cX3)(A), 3205(c)(6). Included withtheservice of thewriton thedefendant are instructions for
objecting to tiieanswerof the gamishee and requesting a hearing within 20 daysafterreceipt. 28 U.S.C. §§
3205(c)(3)(B), 3205(c)(5). If no objection is filed andhearing is requested within therequired timeperiod, thecourt
shall promptly enteran orderdirecting the gamishee as to the disposition of thejudgmentdebtor's nonexempt
interest in suchproperty. If a hearing is timely requested, theordershall be entered within 5 days afterthehearing,
or as soon as practicable. 28 U.S.C. § 3205(c)(7).
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       1.      On January 17,2018, a Judgment entered in the United StatesDistrictCourtfor

the Districtof Massachusetts against the Defendant, social securitynumber ***-**-5534, last

known address in Alderson, WV.

       2.        The Defendant is indebted for the judgment amount of $4,293,312.00, plus

accrued interest at the rate of 1.880%percent per day. The current total balance is

$4,269,836.34.

       3.»       Pursuant to 28 U.S.C. § 3205(b)(1)(B), the United States made demand for

payment of the aforementioneddebt upon not less than 30 days prior to the date ofthis

Application, and the Defendant has failed to satisfy the debt.

       4.        The United States believes the Gamishee is in possession or control of funds

belonging to the Defendant, and that the Defendant has a substantial nonexempt interest in such

funds and/or property. This Writ is intended to compel the Gamishee to pay to the Clerk ofthe

United States District Court all funds held on behalf ofthe Defendant to be applied towards the

outstanding judgment debt.
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       WHEREFORE, the United States respectfully requests the Clerk of the United States

District Court issue a Writ of Garnishment.

                                              Respectfully submitted,

                                              UNITED STATES OF AMERICA
                                              By its attorneys

                                              ANDREW E. LELLING
                                              United States Attorney

                                     By:      /s/ Brendan T. Mockler
                                              BRENDAN T. MOCKLER (BBO 569140)
                                              Assistant United States Attorney
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Date: April 10, 2018


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         IX IS, on this I ^       day of _         U                             20_

         ALLOWED, that thederlTtsif the Court ^11 issue the Writ ofGarnishment.
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                              UWIED STATES DISTRIC^ COURT
